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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                      Plaintiffs,

         vs.
                                                No. 1:23-cv-00108-LMB-JFA
    GOOGLE LLC,

                      Defendant.



                GOOGLE LLC’S REPLY IN SUPPORT OF ITS MOTION
                TO DISMISS THE UNITED STATES’ DAMAGES CLAIM
                       AND TO STRIKE THE JURY DEMAND
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                                         INTRODUCTION

         On May 17, the Department of Justice (“DOJ”) agreed it is an undisputed fact that it

  “claims less than a million dollars in damages”1 (before trebling and pre-judgment interest), and

  that the amount it claims is at most           . Pls.’ Opp. to Def.’s Mot. for S.J., ECF No. 656

  (“S.J. Opp.”) at 2. This admission came the day after Google tendered to DOJ a cashier’s check

  for that exact amount (             , post-trebling and pre-judgment interest). Accordingly, the

  United States’ damages claim is moot and this case must be tried to the Court. Perhaps out of

  disappointment over the gradual collapse of its contrived damages claim, DOJ now ignores this

  undisputed fact, offering up a brand new figure, previously uncalculated by any DOJ expert,

  unsupported by the record, and never disclosed. The law does not permit this. And, as the Court

  made clear, DOJ “can’t have it both ways,” and “will be held to [its] position” “taken at summary

  judgment.” May 31, 2024 Conference Tr. (“May 31 Tr.”) at 22:13-24.

         DOJ has struggled for months with its damages claim. After scrambling around over

  Christmas 2022 to find agencies it could claim were harmed (none have said they were), DOJ

  resisted providing a calculation or amount of damages. This led Judge Anderson to warn DOJ that

  its claim was “in jeopardy” and that it needed to tell him and Google “how much money the

  government is seeking in this case and what—how you compute those damages.” See ECF No.


  1
    All references to Ex. 1 through Ex. 21 refer to the exhibits filed as attachments in support of
  Google LLC’s Motion to Dismiss the United States’ Damages Claim as Moot and to Strike the
  Jury Demand, ECF No. 630. All references to Ex. 22 refer to the exhibit filed as an attachment in
  support of Google LLC’s Reply In Support of Its Motion to Dismiss the United States’ Damages
  Claim and to Strike the Jury Demand. All references to Exs. 62, 68, and 91 refer to the Declaration
  of Bryon Becker in Support of Google LLC’s Motion for Summary Judgment and Motions to
  Exclude, ECF No. 581. All references to Ex. B refer to DOJ’s Corrected Exhibit B, filed in support
  of DOJ’s Opposition to Google LLC’s Motion to Exclude the Testimony of Adoria Lim, ECF No.
  647-2. With respect to quoted material, unless otherwise indicated, all brackets, ellipses, footnote
  call numbers, internal quotations, and citations have been omitted for readability. All emphasis is
  added unless otherwise indicated.


                                                   1
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  447 at 23:25-25:8. Even so, DOJ tried to avoid Google’s written discovery, providing instead

  expert Adoria Lim. Lim, for her part, offered three calculations only—based on a 10% but-for

  revenue share (based on DOJ’s express instructions to use that number) along with the 16.2% and

  16.6% but-for revenue shares calculated by DOJ’s other expert, Dr. Timothy Simcoe. ECF No.

  710 at 5; Ex. 62, App. E ¶¶ 60, 68, Fig. 19; Ex. 68 at 231:3-232:1. Simcoe calculated only the

  16.2% and 16.6% and disavowed the 10% during his deposition. Ex. 91 at 179:4-12. No expert

  offered a damages calculation based on a 5% but-for revenue share.

         DOJ’s claim that a jury could award damages on an alternative calculation was first

  mentioned during a meet and confer on May 30, the day DOJ’s opposition to Google’s mootness

  motion was due—well after DOJ’s admission in its summary judgment opposition, well after Lim

  and Simcoe’s calculations and depositions, and well after the federal rules and Judge Anderson

  required a computation of damages to be disclosed. No number was proffered on the meet and

  confer but instead was included in DOJ’s opposition, filed later that day. ECF No. 690 (“Opp.”)

  at 4. But even this new number did not last. After the Court hearing on May 31, while DOJ said

  it would send information on how this new number was calculated, it explained that evening it

  would take longer because “one of the key people who assisted” was out, suggesting this new

  calculation was not even easily accessible to DOJ. Ex. 22. Then, on June 1, just a few days before

  this reply brief was due, DOJ sent another new number, conceding that the number disclosed for

  the first time in its mootness opposition brief was inaccurate and wrongly computed. Id. Again,

  DOJ is scrambling to salvage a damages claim—now with a moving target—but it cannot escape

  what it has already admitted as an undisputed fact with these last-minute tactics.

         With respect to mootness, DOJ grasps at one more straw: Google’s letter accompanying

  the certified check, which states that Google’s voluntary tender “should not be construed either as




                                                   2
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  an admission that Google is liable in this action, or that the United States has suffered any

  damages.” ECF 632-5. It is not remotely clear why this would be a problem and, in any event,

  DOJ acknowledges (as it must) that for mootness, “Google need not confess liability.” Opp. at 12.

  And to be clear, in a bench trial, the Court will know why Google made this payment; not to

  concede liability but, rather, to promote efficiency, streamline the trial, and avoid the continuing

  cost of litigating claimed damages of less than one million dollars. See also May 31 Tr. at 17:9-

  12.2 Far from conceding liability, Google is confident that the rest of DOJ’s case will collapse

  under scrutiny, much as its damages claim has.

           Finally, while the Court need not reach the Seventh Amendment question if DOJ’s

  damages claim is moot, DOJ has not identified a single civil antitrust case brought by the United

  States that was tried to a jury. Nor does it dispute that the Seventh Amendment, and the other

  provisions of the Bill of Rights, were adopted to protect the People—not the Government. DOJ’s

  position that it has a Seventh Amendment right to a jury trial in this case would lead to a perverse

  result where a provision of the Bill of Rights—adopted to protect the citizens against the

  Government—affords the Government, but not citizens due to sovereign immunity, a jury trial

  right.

           For these reasons, DOJ’s damages claim is moot and its jury demand should be stricken.3

                                            ARGUMENT

      I.   DOJ Has Received Complete Relief and Accordingly its Damages Claim Should Be
           Dismissed as Moot.


  2
    DOJ says what it values “above all else” is maintaining the Court’s schedule for “resolution of
  these claims.” Opp. at 1. So does Google. Dismissing DOJ’s damages case as moot and striking
  the jury demand facilitates efficient resolution by reducing the claims to be tried, eliminating the
  impaneling of a jury and jury instructions, and streamlining motions in limine practice.
  3
   That Google demanded a jury trial on “all issues so triable” is no obstacle to striking the jury
  demand because, at a minimum, the equitable claims remaining are not “so triable.”


                                                   3
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          A claim is moot when “the claimant receives the relief he or she sought to obtain through

  the claim.” Simmons v. United Mortg. & Loan Inv., LLC, 634 F.3d 754, 763 (4th Cir. 2011). Here,

  the undisputed maximum amount of damages “Plaintiff claims” is “$                  .” Def.’s Mem. ISO

  Mot. for S.J., ECF No. 571 (“S.J. Br.”) at 16 (SUF 85); S.J. Opp. at 2. Having received tender for

  that amount, trebled and with prejudgment interest, DOJ can receive no further relief on its

  damages. See Ex. 20; Ex. 21. The claim is therefore moot and must be dismissed. See SAS Inst.,

  Inc. v. World Programming Ltd., 874 F.3d 370, 389 (4th Cir. 2017) (“A claim is moot when”

  “there is no effective relief available in federal court that the plaintiff has not already received.”).4

              A. The Damages the United States Is Seeking on Behalf of the FAAs Are
                 Undisputed.

          Following DOJ’s admission “taken at summary judgment,” this motion is simple: DOJ

  must be “held to [its] position.” May 31 Tr. at 22:13-24. In Google’s opening summary judgment

  brief, consistent with Local Rule 56(B), Google listed facts as to which “there is no genuine issue.”

  Among those was Statement of Undisputed Fact (“SUF”) 85, about the minimum and maximum

  range of DOJ’s damages claim, under a heading titled “F. Plaintiffs’ Damages Claim.” S.J. Br.

  at 16. The day after it received Google’s voluntary tender and motion to dismiss the damages

  claim as moot, DOJ filed its summary judgment opposition, where it expressly stated that it did

  not dispute SUF 85, S.J. Opp. at 2, as quoted below:


  4
    Without citation, DOJ questions whether a motion to dismiss is the proper vehicle for
  adjudicating mootness because an overall “case or controversy remains.” Opp. at 6 n.3. What
  DOJ misses is that “because the requirement of a live controversy applies ‘independently to each
  form of relief sought,’ it is appropriate to address each form of relief separately.” McArthur v.
  Brabrand, 610 F. Supp. 3d 822, 835 (E.D. Va. 2022) (quoting Carter v. Fleming, 879 F.3d 132,
  137 (4th Cir. 2018)). Courts hear mootness by tender issues through motions to dismiss (even
  where other claims remain live) because mootness goes to their subject matter jurisdiction. E.g.,
  Price v. Berman’s Automotive, Inc., 2016 WL 1089417 (D. Md. 2016) (dismissing federal claims
  as moot while proceeding to bench trial on pendent state law claims).


                                                     4
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      Google’s Motion for Summary Judgment                   DOJ’s Opposition to Google’s Motion
                                                             for Summary Judgment

      85. Plaintiffs claim less than a million dollars in    Plaintiffs do not dispute the following
      damages—by their calculations as little as $           Statements of Undisputed Fact
      or at most $          (before trebling and pre-        (“SUFs”): 1, 3, 5-6, 8, 14, 18-21, 29, 31-
      judgment interest)—on behalf of eight federal          32, 38, 40, 50, 52-53, 58, 61, 64, 67-68,
      advertising agencies (“FAAs”) who allegedly            70, 80, 82, 85, 88, 92, 93, and 94.
      suffered injury between January 2019 and January
      2023 when advertising agencies purchased “open-
      web display ads” on the FAAs’ behalf.

  DOJ’s admission was no accident. DOJ did dispute the factual accuracy of 66 of Google’s

  remaining SUFs. Id. at 2-13. But it did not dispute the damages range set forth in Google’s SUF

  85, or provide any alternate damages amount or computation in response to SUF 85.5

            DOJ’s affirmative agreement, “without qualification,” to the factual statement that it claims

  a maximum of $              in damages is a binding judicial admission. Zander v. Cont’l Cas. Co.,

  61 F. App’x 963, 965 (7th Cir. 2003) (stipulation in statement of undisputed facts in opposition to

  a motion for summary judgment is a judicial admission); see also VIA Design Architects, PC v.

  U.S. Dev. Co., 2014 WL 5685550, at *7 (E.D. Va. Nov. 4, 2014) (in this Circuit, a “clear and

  unequivocal” statement in a brief is a judicial admission). Under this Circuit’s law, a judicial

  admission, “unless allowed by the Court to be withdrawn, is conclusive in the case.” Meyer v.

  Berkshire Life Ins. Co., 372 F.3d 261, 264 (4th Cir. 2004).

            Moreover, when damages are a jurisdictional issue, “deliberate, clear, and unambiguous”

  admissions of the amount of damages sought are conclusive of jurisdiction. Baptist v. Zurich Am.

  Ins. Co., 2019 WL 13251258, at *1-2 (E.D. Va. July 9, 2019) (court lacked diversity jurisdiction

  when a plaintiff made a “representation” that “his damages are” below $75,000); see also Singer


  5
    In a footnote, DOJ disputed “the vague, subjective, and self-serving terminology included in
  many SUFs . . . including the phrases ‘as little as’ or ‘at most’ in SUF 85,” but did not in any way
  dispute the computed amounts set forth in SUF 85. S.J. Opp. at 2 n.1.


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  v. State Farm Mut. Auto Ins. Co., 116 F.3d 373, 376 (9th Cir. 1997) (“the plaintiff’s formal judicial

  admission that the amount in controversy exceeds $50,000 has the effect of defeating the plaintiff’s

  choice of forum”). DOJ’s own cited case, Warren v. Sessoms & Rogers, 676 F.3d 365, 372 (4th

  Cir. 2012), recognized that a plaintiff’s representations before the Court about its damages

  demand—including “a specific demand in the amended complaint for actual damages” or

  quantifying “alleged damages in response to a discovery request”—would be conclusive of the

  amount of payment required to grant the plaintiff full relief.

         “Considered in the context of [its] prior express admissions,” DOJ’s argument now falls

  far short of the very high threshold required to withdraw a judicial admission (which DOJ is not

  even seeking). See New Amsterdam Cas. Co. v. Waller, 323 F.2d 20, 24 (4th Cir. 1963)

  (withdrawal requires “a showing of exceptional circumstances,” if “the admitted fact is clearly

  untrue and that the party was laboring under a mistake when he made the admission”). At a May

  31, 2024 hearing before the Court, DOJ stated it does not “recall paragraph 85,” but believes it

  “made clear in our argument in the summary judgment brief that the [revenue share] for AdX could

  be between 5 and 15 percent.” Tr. at 25:17-26:12. But nowhere in its summary judgment brief,

  including in the four-page section about the United States’ standing to seek damages, see S.J. Opp.

  at 31-35, did DOJ ever qualify or contradict its damages admission.6 Nor did DOJ advance in

  expert discovery or at any point in this case a disclosure that it is seeking damages based on a 5%


  6
    DOJ cited one email between Google employees who purportedly “suggested that the AdX take
  rate should be between 5% and 15% to reflect the market.” S.J. Opp. at 15. The email was not
  addressing the appropriate revenue share assuming a competitive market; moreover, DOJ has
  never advanced the position in its expert disclosures or otherwise that 5% would have been the
  revenue share in a competitive market. Estimating a but-for price “nearly always requires the use
  of an expert economist or statistician” and “estimating this hypothetical situation is exceedingly
  difficult.” Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust
  Principles and Their Application ¶¶ 340a2, 340b (5th ed. 2023). Here, DOJ has no supporting
  expert opinions for its brand new and evolving damages figure.


                                                   6
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  but-for revenue share; nor did it provide the calculation underlying such damages. See infra § I.B;

  ECF No. 710 at 5-7. DOJ “may now regret [its] judicial admission, but an admission it was.”

  Zander, 61 F. App’x at 965.

             B. DOJ Has Offered No Explanation for Why It Should Be Able to Advance a Never
                Disclosed Damages Theory and Number Inconsistent with Its Expert Disclosures.

         Even absent DOJ’s binding admission, DOJ has no grounds to argue that it may recover

  additional damages for a previously undisclosed amount. DOJ’s obligation to disclose during

  discovery the amount of its claimed damages—and how those damages were computed—could

  not be clearer. Rule 26(a)(1)(iii) requires DOJ to provide:

         A computation of each category of damages by the disclosing party—who must
         also make available . . . the documents or other evidentiary material . . . on which
         each computation is based, including materials bearing on the nature and extent of
         injuries suffered.

  Fed. R. Civ. P. 26(a)(1)(iii). “[A] party’s Rule 26(a)(1)(A)(iii) disclosure must state the types of

  damages that the party seeks, must contain a specific computation of each category, and must

  include documents to support the computation.” Silicon Knights, Inc. v. Epic Games, Inc., 2012

  WL 1596722, at *1 (E.D.N.C. 2012). “District courts have therefore correctly held that, where a

  party only discloses a lump sum or merely refers to documents from which the opposing party can

  presume damages, the disclosing party has not met its obligation.” Adv. Training Grp. Worldwide,

  Inc. v. Proactive Techs. Inc., 2020 WL 4574493, at *5 (E.D. Va. 2020). DOJ also has “a

  continuing duty to supplement and correct its damages computation ‘in a timely manner,’

  including to update the materials on which the party relies in assessing damages.” Duke Energy

  Carolinas LLC v. NTE Carolinas II LLC, 2022 WL 884275, at *2 (W.D.N.C. 2022) (quoting Fed.

  R. Civ. P. 26(e)).




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         “In other words, a plaintiff must disclose to the defendant a computation of each category

  of damages claimed pursuant to Rule 26(a), and if a plaintiff fails to provide that damages

  computation, Rule 37(c) provides that exclusion of such evidence is the appropriate remedy, unless

  the failure to disclose is harmless or was substantially justified.” Advanced Training, 2020 WL

  4574493, at *4. The failure to meet these disclosure obligations results in exclusion unless the

  failure was “substantially justified or harmless.” Fed. R. Civ. P. 37(c)(1).

         Courts in this Circuit apply multiple factors in determining whether a party’s non-

  disclosure was “substantially justified or harmless”:

         (1) the surprise to the party against whom the evidence would be offered; (2) the
         ability of that party to cure the surprise; (3) the extent to which allowing the
         evidence would disrupt the trial; (4) the importance of the evidence; and (5) the
         non-disclosing party’s explanation for its failure to disclose the evidence.
  S. States Rock & Fixture, Inc. v. Sherwin-Williams Co., 318 F.3d 592, 597 (4th Cir. 2003). Based

  on these factors, DOJ’s failure to disclose a new damages theory and number—not disclosed in

  discovery—is neither harmless nor substantially justified.

         Google was surprised by DOJ’s position, which is inconsistent with the calculations it had

  provided through its own retained experts. In expert reports and depositions, DOJ provided precise

  damages figures premised upon three clearly delineated but-for revenue shares––10%, 16.2%, or

  16.6%, yielding a damages range of $              to $        . These figures are summarized in

  Figure 19 of the Lim report:




                                                   8
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   As the chart shows, the only revenue shares used for calculating damages were 10%, 16.2% and

   16.6%. Lim relied on Simcoe’s analysis when calculating damages based on 16.2% and 16.6%,

   and DOJ instructed Lim to use a 10% revenue share. ECF No. 577 at 6; Ex. 62, App. E ¶¶ 60, 68,

   Fig. 19; Ex. 68 at 231:3-232:1.

          Google reasonably relied on DOJ’s own disclosures when providing the cashier’s check

   for the purpose of streamlining this litigation, given that the expense of litigating the damages

   claim would by far exceed DOJ’s meager claimed damages. Upon receipt of the check on May

   16, 2024, DOJ did not say that the amount was in error and instead, on May 17, 2024, in responding

   to Google’s summary judgment motion, stated that it did not dispute that the damages amount

   ranged from $            to $           .   See S.J. Opp. at 2 (conceding SUF 85) & 31 n.15

   (acknowledging receipt of Google’s mootness motion and tender of check).

          Then, the backpedaling started. On May 28, 2024, DOJ requested a meet and confer

   concerning Google’s mooting motion. During that meet and confer, which took place on May 30,

   DOJ told Google for the first time that the check did not reflect the full damages DOJ could

   recover, but did not provide the amount it was suggesting it could recover. Later on May 30, DOJ

   filed its opposition to Google’s mootness motion, stating that “Plaintiffs’ damages expert, Adoria

   Lim, calculated pre-treble damages for the FAAs much higher than the $              Google cites in

   its motion, and record evidence would support a damages award to the FAAs at trial, before

   trebling or prejudgment interest of $           .” Opp. at 9. Following the May 31 hearing with

   the Court, Google met and conferred with DOJ; during that meet and confer DOJ agreed that its

   new damages number was not calculated in any expert report and agreed to follow-up with the

   calculation. While DOJ said it would send the calculation that day, it later emailed to say it would

   take longer because “one of the key people who assisted” was out, Ex. 22, suggesting that this new




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   calculation was not just previously undisclosed, it was not even easily accessible. It was not until

   the evening of June 1 that DOJ provided Google with its never-before disclosed calculation based

   on a 5% revenue share, and acknowledged that the damages figure in its opposition to Google’s

   mootness motion was incorrect and needed to be amended. Id.

          The saga of Google’s pursuit of what DOJ at least for now claims to be its highest possible

   damages figure only serves to highlight why this new number cannot survive: it was a) previously

   undisclosed; b) nowhere in the record, including expert reports and depositions, and summary

   judgment briefing; c) not so easily calculated since DOJ erred in computing it and had to revise

   the total amount; and d) not so accessible or replicable that it could be shared without the help of

   a “key” person, presumably at DOJ’s expert firm.7

          DOJ was well on notice about its obligations. Nine months ago, Judge Anderson warned

   that “the government’s claim for damages is in jeopardy in this case given the lack of

   responsiveness in discovery.” ECF No. 447 at 23:25-25:8. DOJ resisted, insisting instead that the

   computation would be provided during expert discovery because “there is a need for complex

   expert calculations in order to come up with a total” and “the only way to calculate how much

   those were—those prices were overcharged is through economic modeling.” Id. at 16:1-13, 21:4-

   7. Judge Anderson further warned that delaying disclosure of the claimed damages until expert

   reports was “not fair. And I want to make sure this case is tried on a fair basis, and hiding the ball



   7
     Figure 38 of Lim’s (corrected) report, upon which DOJ partially relies, does not provide a
   computation of damages. Ex. B, Fig. 38. Figure 38 is



                                                                                  All of the other
   figures in Appendix D where Figure 38 can be found all show calculations using 10%, 16.2%. or
   16.6% but-for revenue shares, never a 5% revenue share.


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   as to how you’re going to calculate the damages or what the damages are, you know, what the

   elements are going to be, you know, if the model isn’t complete.” Id. at 23:25-25:8.

          It would be highly prejudicial to Google—after Judge Anderson’s warnings, after fact and

   expert discovery, after summary judgment (including DOJ’s admission on damages) and Daubert

   briefing—for DOJ to advance a new damages theory and number. There is no way to cure the

   surprise, and the associated prejudice, without reopening discovery to understand the basis for the

   calculation, including the support DOJ now claims for a 5% revenue share—especially because no

   expert or fact witness has provided support that 5% is a revenue share that would be charged in a

   but-for world, i.e., absent alleged anticompetitive conduct. None of the three documents DOJ

   could muster in its opposition purport to calculate a but-for revenue; all that the emails show, and

   deposition testimony confirms, is brainstorming and discussion about hypothetical changes to

   Google’s AdX revenue share and any possible impact of such theoretical changes. ECF No. 711

   (Lim Reply) at 9-10. Lim does not rely on any of the three emails in her materials relied on, while

   Simcoe cites the documents, ECF No. 597-5, ¶ 236 n.253, but never uses them as a basis for a but-

   for revenue share.

          To allow damages calculations based on an unsupported, undisclosed, and uncalculated

   revenue share would run counter to the purpose of Rule 26(a), which is to allow litigants “to

   adequately prepare their cases for trial and to avoid unfair surprise.” Bresler v. Wilmington Tr.

   Co., 855 F.3d 178, 190 (4th Cir. 2017); Advance Training, 2020 WL 4574493, at *9 (excluding

   new lost profits damages calculation offered after close of discovery); Ruddy v. Bluestream Prof.

   Serv., LLC, 2020 WL 13694227, at *4 (E.D. Va. 2020) (“It is also clear that the exclusion of

   damages evidence pursuant to Rule 37(c) is the appropriate sanction for plaintiff’s failure to

   disclose a proper computation of her economic damages in this case.”).




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          DOJ’s desperate and fumbling effort to come up with a new damages figure on the fly is

   barred by its binding admission, and allowing it at this late date would be fundamentally unfair. It

   is another example of the lengths DOJ is willing to go to have this case heard by a jury despite its

   acknowledgment that the issues involved are “highly technical, often abstract, and outside the

   everyday knowledge of most jurors.” ECF No. 517 at 7-8 (quoting DOJ counsel). That is not the

   sign of a strong case. Nor is it a good reason to disregard all of the above.

              C. DOJ Has No Remaining Basis for Attempting to Reject an Unconditional Tender
                 of Complete Relief.

          Having received guaranteed tender for the complete amount of its claimed damages, DOJ’s

   damages claim is moot. See Jarrett v. United States, 79 F.4th 675, 680 (6th Cir. 2023) (“We see

   no reason that mootness should turn on what a [defendant] does with a check any more than it

   should turn on whether he burns a full cash payment on the spot.”). The cases DOJ cites for

   refusing tender are irrelevant here. See Opp. at 7-8, 10.8

          Several of the cases DOJ invokes concern the particular situation of a defendant “‘picking

   off’ named plaintiffs to deny a would-be class representative a fair opportunity to seek class

   relief”—a concern obviously not present here, or even relevant given all parties’ eagerness to

   proceed to final adjudication of the remaining liability claims. Chen v. Allstate Ins. Co., 819 F.3d

   1136, 1147 (9th Cir. 2016); see also Fulton Dental, LLC v. Bisco, Inc., 860 F.3d 541, 545 (7th Cir.



   8
     DOJ describes the Fourth Circuit’s unpublished, non-binding opinion in Bennett as standing for
   the general proposition that “refusal of a tendered check forestalls mootness.” Opp. at 11. The
   few sentences Bennett devotes to the issue say nothing so sweeping. The court simply notes that
   the defendant’s “offer of settlement” in that case (which was not a cashier’s check), where “the
   complaint seeks relief on behalf of the plaintiff and a class of persons similarly situated,” did not
   result in mootness after the ruling in Campbell-Ewald Co. v. Gomez, 577 U.S. 153 (2016). Bennett
   v. Off. of Fed. Emp.’s Grp. Life Ins., 683 F. App’x 186, 188 (4th Cir. 2017). And, as explained in
   Google’s opening brief, courts in the Fourth Circuit have distinguished Bennett from tenders
   involving guaranteed payment like a cashier’s check. See ECF No. 688 at 14 n.8.


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   2017) (“suit is about more than the statutory damages . . . it is also about the additional reward that

   it hopes to earn by serving as the lead plaintiff for a class action”); Krumm v. Kittrich Corp., 2019

   WL 6876059, at *3 (E.D. Mo. 2019) (concerned with “defendant attempts to pick off” class

   claimants); Ung v. Universal Acceptance Corp., 190 F. Supp. 3d 855, 862 (D. Minn. 2016)

   (“critical that [Plaintiff] brought this case as a putative class action”); Pankowski v. Bluenrgy Grp.

   Ltd., 2016 WL 7179122, at *3 (S.D. Tex. Dec. 9, 2016) (similar); Fam. Med. Pharmacy, LLC v.

   Perfumania Holdings, Inc., 2016 WL 3676601, at *5-6 (S.D. Ala. 2016) (similar).

          DOJ also cites a handful of cases where the scope of complete relief was genuinely in

   dispute. See, e.g., Warren, 676 F.3d at 371-72 (noting that “defendants can point to no evidentiary

   record” to support their view of the maximum actual damages “nor has any discovery been taken

   as to the amount”); Naranjo v. Nick’s Mgmt., Inc., 652 F. Supp. 3d 737, 743 (N.D. Tex. 2023)

   (dispute over whether “fees and tips” could be deducted from defendant’s tender of claimed

   wages); Cline v. Sunoco, Inc. 2019 WL 7759052, at *5 (E.D. Okla. 2019) (disputes about

   availability and amount of “punitive damages, injunctive relief, accounting, and disgorgement”);

   Carter v. Stewart Title & Guar. Co., 2013 WL 436517, at *5 (D. Md. 2013) (disputes about

   “additional damages” from “civil RICO and common law claims”). These cases, too, are irrelevant

   given that the maximum amount of actual damages is an undisputed fact here.

          Finally, DOJ suggests that the tender in this case is invalid because it is “conditional.” DOJ

   never expressly identifies why it contends there is a condition. Google provided DOJ a guaranteed

   form of payment, which DOJ is free to deposit or cash without any conditions attached. As a

   general matter, DOJ would presumably prefer that Google concede liability, but even DOJ

   acknowledges that for the damages claim to become moot, “Google need not confess liability.”

   Opp. at 12. None of DOJ’s cited cases requires a liability concession. In Simmons, for instance,




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   the court identified a number of “conditions” that prevented tender from mooting an employer’s

   overtime claim but expressly missing from the list was “no admission of liability.” 634 F.3d at

   763-64 & n.6 (noting that Rule 68 also does not “require an admission of liability by the

   defendant”)9; see also Chen, 819 F.3d at 1142 (Plaintiff “has not explained why . . . an admission

   of liability is necessary to afford him complete relief on his non-class claims”). Likewise, Jarrett

   could not be clearer that the “measure of mootness” is not whether a party has “admitted liability

   or agreed to an entry of a judgment.” 79 F.4th at 681.10

           All that remains is DOJ’s assertion that Google is “unilaterally precluding Plaintiffs from

   arguing at trial that Google’s payment is evidence of both damages and liability.” Opp. at 12.

   While it is unclear why this would matter in a bench trial, Google’s statement that the voluntary

   tender “is not and should not be construed . . . as an admission” is just that—an unequivocal

   statement about Google’s position that it is not affirmatively admitting liability or damages by

   making the payment. ECF No. 632-5. This case will still proceed to a full resolution of the

   remaining claims in the Complaint whether by summary judgment or trial. And, at the appropriate

   time, the Court can determine what evidence and arguments are admissible.11 See May 31 Tr. at


   9
     For a full comparison, the conditions that the court found relevant were a truncated window for
   reviewing the offer (5 days), requiring plaintiffs to file an affidavit calculating and justifying their
   overtime claims, requiring plaintiffs to enter an agreement that “all claims will be waived and
   released,” and requiring plaintiffs to keep the settlement confidential. Simmons, 634 F.3d at 764,
   766-67. There are no comparable conditions here.
   10
     DOJ’s other bases for distinguishing Jarrett are equally unavailing. Google’s tender provides
   “full and unconditional” payment and DOJ’s receipt of a cashier’s check “constituted actual
   payment.” Opp. at 12-13; see, e.g., Kuntze v. Josh Enters., Inc., 365 F. Supp. 3d 630, 642 (E.D.
   Va. 2019) (“payment is assured” with “a duly issued cashier’s check”); Price v. Berman’s Auto.,
   Inc., 2016 WL 1089417, at *2 (D. Md. 2016) (“no legitimate risk of non-payment” when cashier’s
   check was tendered).
   11
     Google disagrees that its voluntary tender of payment is admissible evidence under the Federal
   Rules of Evidence. E.g., Fed. R. Evid. 408; Macsherry v. Sparrows Point, LLC, 973 F.3d 212,
   222-23 (4th Cir. 2020); Silicon Knights, 2011 WL 5439156, at *2. DOJ’s argument that an adverse
   “inference” based on tender “is permissible,” Opp. at 12, cites to a concurring opinion that itself

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   17:3-12 (the Court noting that DOJ can “make that type of argument to the Court” after resolving

   whether there is “a basis for the jury”).

             DOJ has received tender for the full amount of its claimed damages. It can cash that tender

   as it pleases and can seek no further relief from this Court on that count. Accordingly, the Court

   should disregard DOJ’s reasons for forestalling mootness and dismiss the damages claim.

    II.      The Seventh Amendment Does Not Entitle the United States to a Jury Trial.

             As DOJ agrees, see Opp. at 15 n.7, the Court need not and should not address whether DOJ

   has a jury-trial right if it concludes DOJ’s damages claim is moot. If the Court addresses the

   question, it should hold that the Seventh Amendment does not entitle DOJ to a jury trial.

             First, and most important, DOJ identifies no precedent in American history where a case

   like this—where the federal government brings only civil antitrust claims—was tried to a jury.

   DOJ comes close to conceding that no such case exists, and its attempt to justify the glaring

   absence of precedent on the ground that most cases brought by the United States “seek only

   injunctive relief” only highlights how extraordinary DOJ’s jury demand is here. Opp. at 21 n.10.

   The “lack of historical precedent” for DOJ’s jury demand is powerful evidence that the right DOJ

   invokes does not exist. Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 505

   (2010).

             Second, DOJ dedicates much of its brief to the undisputed proposition that the Seventh

   Amendment entitles private parties to a jury trial in antitrust cases seeking treble damages. See

   Opp. at 15-18. But the relevant question is whether the Seventh Amendment entitles the sovereign



   explicitly declined to decide whether “an admission of liability” is required to moot a case. See
   Campbell-Ewald, 577 U.S. at 174 (Thomas, J., concurring). Regardless, this evidentiary dispute
   about what if anything the Court should infer from Google’s tender has no bearing on whether
   DOJ has received full payment for its claimed damages, thereby mooting that claim, and can be
   briefed at the appropriate time if DOJ wishes to raise it.


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   to a jury trial in such cases. On that question, DOJ does not dispute that the Bill of Rights was

   adopted to protect “personal rights against federal encroachment.” McDonald v. City of Chicago,

   561 U.S. 742, 765 (2010) (quoting Malloy v. Hogan, 378 U.S. 1, 10 (1964)). DOJ fails to identify

   any other provision of the Bill of Rights that grants the federal government rights against private

   parties. And DOJ concedes that its claim to a jury trial would lead to a startling asymmetry

   whereby the government has a jury-trial right against private parties but private parties have no

   comparable right against the government. See Opp. at 19. DOJ justifies this asymmetry on

   sovereign-immunity grounds, but sovereign immunity’s place in the “fabric of American law,” see

   id., again only underscores the novelty of DOJ’s jury claim here.

          Third, DOJ’s appeal to case law is unpersuasive. DOJ cites precedent generally stating

   that the Seventh Amendment applies in cases brought by the United States. Most of these cases

   involved a defendant that sought a jury trial in an action brought by the government. See Tull v.

   United States, 481 U.S. 412, 417 (1987) (defendant sought jury trial); Austin v. Shalala, 994 F.2d

   1170, 1173 (5th Cir. 1993) (same); Damsky v. Zavatt, 289 F.2d 46, 48 (2d Cir. 1961) (Friendly,

   J.) (same); cf. 9 Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2314

   (4th ed. 2023). These cases neither hold nor imply that the same Seventh Amendment right extends

   to the United States. And while some courts have incorrectly held that the Seventh Amendment

   gives the United States a jury trial right, DOJ does not contend that the Supreme Court or Fourth

   Circuit has addressed the issue, leaving it an open question for this Court.

          DOJ erroneously contends that “Google does not cite any authority” holding that the

   Seventh Amendment does not entitle the United States to a jury. To the contrary, Google’s motion

   extensively discussed United States v. Griffin, 14 F.2d 326 (W.D. Va. 1926), which rejected the

   argument DOJ makes here. Griffin explained that it would be a “perversion of the purpose and




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   intent of the Seventh Amendment to contend that it gives the government a right to a jury trial in

   any case,” and that while the Seventh Amendment “imposes an obligation on the government as

   plaintiff to submit to a trial by jury in certain classes of cases at common law,” it does not grant

   the United States a right to force a defendant to submit to a jury trial. Id. at 326-27. DOJ has no

   answer to Griffin, and therefore ignores it.

          Fourth, DOJ cannot show that similar actions by the Crown would have been tried to juries

   in 1791, and barely attempts to do so. DOJ denigrates the importance of history, citing Tull’s

   statement that characterizing the relief sought is “more important” than finding a historical

   analogue. Opp. at 15-16 (citing Tull, 481 U.S. at 421). Tull’s statement is difficult to reconcile

   with the text of the Seventh Amendment, with early Supreme Court precedent holding that the

   Seventh Amendment preserves “the right which existed under the English common law when the

   Amendment was adopted,” Balt. & Carolina Line, Inc. v. Redman, 295 U.S. 654, 657 (1935), and

   with more recent precedent confirming the Court’s “longstanding adherence to this historical test,”

   Markman v. Westview Instruments, Inc., 517 U.S. 370, 376 (1996). Regardless, DOJ does not

   dispute that history is at least highly relevant, and Google has shown, with support from a

   declaration from Professor Hudson, that in 1791 “complex damages actions brought by the Crown

   against a subject would likely be heard by a judge.” ECF No. 688 at 9.

          DOJ concedes that “perhaps no 18th-century action is ‘precisely analogous.’” Opp. at 22.

   This underscores the absence of any “established jury practice sufficient to support an argument

   by analogy” that damages actions brought by the United States should be tried to a jury. Markman,

   517 U.S. at 380. DOJ also does not dispute Prof. Hudson’s conclusion that actions by the Crown

   through a procedure called an “information” would have been tried to judges rather than juries at

   common law. DOJ distinguishes cases tried through an information on the ground that they




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   involve “recovery of royal property or revenues.” Opp. at 22. But that is exactly what DOJ’s

   damages claim seeks as well—DOJ claims that Google’s conduct “caused the United States to

   incur monetary damages” which DOJ now seeks to recover to protect the government’s pecuniary

   interests. ECF No. 120, ¶ 341. And while DOJ notes that actions for “forestalling, regrating, and

   engrossing” were tried to juries, Opp. at 22-23, those offenses were “crimes” subject to punishment

   up to “death”—and different jury-trial rules apply in the criminal context. William Letwin, The

   English Common Law Concerning Monopolies, 21 U. Chi. L. Rev. 355, 368 (1954); see Edward

   A. Adler, Monopolizing at Common Law and Under Section Two of the Sherman Act, 31 Harv. L.

   Rev. 246, 254 (1917) (“forestalling, regrating, and engrossing” was “a criminal offence”).

          DOJ’s attempts to discredit Prof. Hudson’s analysis are unpersuasive. DOJ claims that the

   “Hudson Declaration is contrary to the analysis of the Ninth Circuit in Standard Oil and the Third

   Circuit in Corry Jamestown.” Opp. at 21. But Corry Jamestown was an EEOC suit brought under

   the Age Discrimination in Employment Act, which gives private parties a jury right and which

   also allows the EEOC “to bring suit on behalf of an individual in a representative capacity.” EEOC

   v. Corry Jamestown Corp., 719 F.2d 1219, 1223 (3d Cir. 1983). Applying the statute, the court

   merely held that “since the Commission is suing as surrogate or in a representative capacity, the

   Commission must have the same rights that are possessed by the individual.” Id. at 1225. And

   Standard Oil’s holding that “the states are guaranteed the right to jury trial” under the Seventh

   Amendment, Standard Oil Co. of Calif. v. Arizona, 738 F.2d 1021, 1026 (9th Cir. 1984), is

   likewise inapplicable given that states and the federal government are differently situated under

   the Bill of Rights. See U.S. Const. amdt. X. While DOJ cites the Judiciary Act of 1789, see Opp.

   at 20-21, that early statute undermines rather than supports DOJ’s argument because it confers a




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   statutory jury-trial right to the United States. DOJ does not dispute that no such statutory right

   exists here.12

           Finally, this Court can easily reject DOJ’s claim that this case’s complexity is irrelevant to

   the Seventh Amendment question. The Supreme Court itself has held that “the practical abilities

   and limitations of juries” bear on whether a Seventh Amendment right attaches. Ross v. Bernhard,

   396 U.S. 531, 538 n.10 (1970). DOJ claims that this statement in Ross was relevant only to the

   question whether a claim was legal or equitable, but that is wrong—Ross made this statement in

   addressing whether “the nature of the issue to be tried” subjects it to the Seventh Amendment. Id.

   at 538. In any event, DOJ does not address the “unquestionable” evidence that a case’s complexity

   was relevant to whether it would be tried to jury at common law, Patrick Devlin, Jury Trial of

   Complex Cases: English Practice at the Time of the Seventh Amendment, 80 Colum. L. Rev. 43,

   68 (1980), and does not address Hamilton’s reference in Federalist 83 to the existence of “questions

   too complicated for a decision” by a “trial by jury,” Federalist No. 83 at 528 (A. Hamilton) (B.

   Wright ed. 1961). DOJ also does not and cannot dispute that this is an exceptionally complex case.

   The novelty of DOJ’s jury demand makes this a particularly appropriate case to consider

   complexity in evaluating whether to extend the Seventh Amendment here.

        III. DOJ’s Arguments About Consent to A Jury Trial Are Misplaced And Irrelevant.

           DOJ claims that Google “consented to a jury trial in this matter.” Opp. at 13. But, as DOJ

   elsewhere acknowledges, Google demanded a jury trial only “on all issues so triable.” Opp. at 5



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     DOJ’s procedural objections to Prof. Hudson’s declaration are similarly meritless. Rule 44.1
   applies where a party seeks to raise “an issue about a foreign country’s law,” Fed. R. Civ. P. 44.1,
   which is exactly what Google does here. And courts have applied Rule 44.1, as here, where a
   foreign country’s law informs the application of U.S. law. See ElcomSoft, Ltd. v. Passcovery Co.,
   958 F. Supp. 2d 616, 619 (E.D. Va. 2013) (applying Rule 44.1 to evaluate forum non conveniens
   question).


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   (quoting ECF No. 208 at 55-56). And Google may unilaterally withdraw that consent given that

   DOJ lacks an underlying jury-trial right. See Kramer v. Banc of Am. Sec., LLC, 355 F.3d 961, 968

   (7th Cir. 2004) (defendant did not need consent to withdraw jury demand because the plaintiff

   “had no right to a jury trial”); see also FN Herstal SA v. Clyde Armory Inc., 838 F.3d 1071, 1089

   (11th Cir. 2016) (“When no right to a jury trial exists and where no prejudice will result, a party

   may unilaterally withdraw its consent to a jury trial.”); Martin v. Bimbo Foods Bakeries Distrib.,

   Inc., 2016 WL 6459609, at *1 (E.D.N.C. 2016) (similar); Morgan v. Ocean Warrior Fisheries,

   LLC, 537 F. Supp. 3d 30, 34 (D. Me. 2021) (similar). DOJ therefore errs in suggesting that this

   Court could “proceed to a jury trial in the absence of a damages claim” by relying on Google’s

   consent. Opp. at 13.

          Moreover, DOJ acknowledges that this Court has discretion to allow withdrawal of consent

   and “defer[s] to the Court as to whether to proceed to a jury or bench trial,” Opp. at 14, and

   concedes that it would suffer no prejudice from a bench trial. DOJ appears to argue that Google

   must formally withdraw its consent, but the Seventh Circuit has explained that a party may

   “withdr[a]w that consent” by filing a “motion to strike [plaintiff’s] jury demand,” Kramer, 355

   F.3d at 968, exactly as Google did here.

                                              CONCLUSION

          For the foregoing reasons, and those in Google’s opening brief, Google’s Motion to

   Dismiss the United States’ Damages Claim and to Strike the Jury Demand should be granted.




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    Dated: June 5, 2024                Respectfully submitted,

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